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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                           DEMETRICK PENNIE, et al.,
                                   7                                                        Case No. 17-cv-00230-JCS
                                                        Plaintiffs,
                                   8
                                                  v.                                        ORDER GRANTING MOTION TO
                                   9                                                        DISMISS
                                           TWITTER, INC., et al.,
                                  10                                                        Re: Dkt. No. 43
                                                        Defendants.
                                  11

                                  12   I.       INTRODUCTION
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                                  13            This case arises from a July 7, 2016 mass shooting in which Micah Johnson ambushed and

                                  14   killed five police officers in Dallas, Texas. Plaintiffs are Rick Zamarripa, the father of one of the

                                  15   deceased officers, and Demetrick Pennie, another Dallas police officer who was one of the first

                                  16   responders to the attack.

                                  17            The loss and suffering caused by Johnson‘s horrific act of violence are not in doubt. The

                                  18   only issue before this Court, however, is whether Plaintiffs state a claim for relief against the

                                  19   particular defendants named in this case. Plaintiffs seek to hold Defendants Twitter, Inc., Google

                                  20   Inc., and Facebook, Inc. liable for providing material support to Hamas, a Palestinian entity

                                  21   designated as a foreign terrorist organization, primarily in the form of access to Defendants‘ online

                                  22   social media platforms. Defendants move to dismiss for failure to state a claim pursuant to Rule

                                  23   12(b)(6) of the Federal Rules of Civil Procedure, and the Court held a hearing on September 22,

                                  24   2017. Because Plaintiffs have not plausibly alleged a causal connection between the shooting and

                                  25   Defendants‘ alleged conduct, and because the Communications Decency Act immunizes most if

                                  26   not all of the conduct at issue, Defendants‘ motion is GRANTED.1

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                                  28    The parties have consented to the jurisdiction of the undersigned magistrate judge for all
                                       purposes pursuant to 28 U.S.C. § 636(c).
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                                   1   II.      BACKGROUND

                                   2            A.   Procedural History and Allegations of the First Amended Complaint
                                   3            Plaintiffs filed this action on January 17, 2017. See Compl. (dkt. 2). Defendants moved to

                                   4   dismiss for failure to state a claim, see dkt. 40, and on June 9, 2017, Plaintiffs filed their operative

                                   5   First Amended Complaint in lieu of opposing the motion. See 1st Am. Compl. (―FAC,‖ dkt. 41).

                                   6   The Court denied the first motion to dismiss as moot in light of the amended complaint. See Order

                                   7   (dkt. 42). Defendants now once again move to dismiss. See Mot. (dkt. 43).

                                   8            The general premise of Plaintiffs‘ First Amended Complaint is that Defendants have

                                   9   provided material support to Hamas by allowing Hamas and its members and affiliates to use

                                  10   Defendants‘ social media platforms, despite Hamas‘s designation as a terrorist group under United

                                  11   States law. See FAC ¶¶ 1, 21–23.2 According to Plaintiffs, ―Hamas‘s use of Defendants‘ sites‖

                                  12   was responsible ―in part‖ for ―radicaliz[ing]‖ Micah Johnson, who killed five police officers and
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                                  13   wounded several other people when he ―ambushed and fired upon a group of police officers in

                                  14   Dallas, Texas.‖ Id. ¶¶ 1, 123. Plaintiff Rick Zamarripa‘s son Patrick, a six-year veteran of the

                                  15   Dallas Police Department, was among the officers killed in the attack. Id. ¶ 124. Plaintiff

                                  16   Demetrick Pennie, himself an officer of the Dallas Police Department, was among the first

                                  17   responders to the scene of the attack and personally knew the deceased officers. Id. ¶ 137.

                                  18   Plaintiffs continue to suffer emotional distress as a result of the attack. Id. ¶¶ 137–38.

                                  19            Hamas, founded during the First Intifada in 1987 as an offshoot of the Muslim

                                  20   Brotherhood, is a militant Palestinian organization that has ―carried out thousands of terrorist

                                  21   attacks in Israel, the West Bank, and Gaza, murdering hundreds of Israeli and U.S. citizens . . . and

                                  22   wounding thousands more.‖ Id. ¶¶ 15–20, 24. The United States has designated Hamas as a

                                  23   ―Foreign Terrorist Organization‖ pursuant to 8 U.S.C. § 1189 in 1997, and as a ―Specially

                                  24   Designated Global Terrorist‖ pursuant to Executive Order 13224 in 2001. Id. ¶¶ 21–23.

                                  25            Plaintiffs allege that ―[w]ithout Defendants Twitter, Facebook, and Google (YouTube),

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                                       2
                                  27    Although Defendants disputed the accuracy of certain allegations in the First Amended
                                       Complaint at the hearing, factual allegations are generally taken as true on a motion to dismiss
                                  28   under Rule 12(b)(6). Nothing in this order should be construed as resolving the factual accuracy
                                       of Plaintiffs‘ allegations.
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                                   1   HAMAS‘ ability to radicalize and influence individuals to conduct terrorist operations outside the

                                   2   Middle East would not have been possible.‖ Id. ¶ 2. Hamas operates an official English-language

                                   3   Twitter account with more than 37,000 followers, and an Arabic-language account with 281,000

                                   4   followers, among other accounts, and ―has used Google (YouTube) and Facebook in a similar

                                   5   manner.‖ Id. ¶¶ 3–6. As reported by various government officials, news outlets, and other

                                   6   commentators, Hamas and other terrorist groups use Defendants‘ products—including direct

                                   7   messaging features—to recruit members, solicit funds, and ―spread propaganda and incite fear.‖

                                   8   Id. ¶¶ 25–59. All Defendants place advertisements on (and thus derive revenue from) Hamas

                                   9   postings, and because Google shares revenue with the creators of some videos posted to YouTube,

                                  10   Plaintiffs allege that Google has provided funds to Hamas. Id. ¶¶ 90–102. Plaintiffs assert

                                  11   liability on the grounds that Defendants provide ―infrastructure‖ to Hamas, profit from Hamas‘s

                                  12   use of their service and ―create unique content‖ by placing ads on Hamas‘s posts, and, in the case
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                                  13   of Google, share advertising revenue with Hamas. Id. ¶ 7.

                                  14          Although Plaintiffs‘ theory of how Defendants support Hamas is relatively clear, the

                                  15   connection between that support and the Dallas shooting is not. Plaintiffs assert in a conclusory

                                  16   fashion that, ―[o]n information and belief, Micah Johnson was radicalized, in part, by reviewing

                                  17   postings of HAMAS and other terrorist groups on the internet and Defendants‘ social media sites.‖

                                  18   Id. ¶ 129; see also, e.g., id. ¶ 132 (―Micah Johnson was radicalized by HAMAS‘s and other Black

                                  19   Separatist Hate Groups‘ use of Defendants‘ tools to conduct terrorist operations.‖). The First

                                  20   Amended Complaint does not, however, include allegations addressing particular content posted

                                  21   by Hamas that Johnson allegedly viewed.

                                  22          The crux of Plaintiffs‘ complaint is instead that Hamas is connected to various purported

                                  23   ―black separatist hate groups‖ that in turn influenced Johnson to shoot police officers. See id.

                                  24   ¶¶ 103–22. To connect Hamas to such ―groups,‖ Plaintiffs identify a scattershot of statements

                                  25   from social media users whom Plaintiffs characterize as ―HAMAS sympathizers and members‖

                                  26   expressing solidarity with what Plaintiffs characterize as ―the uprising in Ferguson,‖ Missouri,

                                  27   including statements that ―[t]he oppressed stands with the oppressed‖ and advice for how to

                                  28   mitigate the effects of tear gas. Id. ¶ 105. Plaintiffs also allege that a photograph purportedly
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                                   1   showing a member of Hamas beheading a prisoner has been edited by ―black separatist hate

                                   2   groups‖ to show the beheading of a police officer and has been shared by those groups on

                                   3   Defendants‘ social media platforms. Id. ¶¶ 106–07. Casting a wider net, Plaintiffs allege

                                   4   connections between African American protest groups and other Palestinian or pro-Palestinian

                                   5   groups besides Hamas, including: (1) statements by the ―BDS movement‖ (i.e., supporters of

                                   6   boycotts, divestment, and sanctions targeting Israel), a leader of the Council on American-Islamic

                                   7   Relations, and ―Khalilah Sabra, another Islamic leader‖ in solidarity with ―BLM‖ (i.e., ―Black

                                   8   Lives Matter‖) protestors; (2) a YouTube video ―uploaded by a user named Black-Palestinian

                                   9   Solidarity‖; and (3) a 2015 visit ―to the occupied Palestinian Territories and Israel‖ by ―Black

                                  10   journalists, artists and organizers representing Ferguson, Black Lives Matter, Black Youth Project

                                  11   100 (BYP100), and more,‖ which included participating ―in a weekly riot‖ in the West Bank to

                                  12   throw stones at Israeli soldiers and police officers. Id. ¶¶ 108–11, 113, 119–20. Plaintiffs also
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                                  13   note that ―[i]n 2016, Pro-Palestinian David Sheen completed a whirlwind tour to ISM3 and BLM

                                  14   leftist groups across the U.S. receiving housing and support from well-known anarchists and other

                                  15   radicals.‖ Id. ¶ 112.

                                  16             Next in the chain of causation, Plaintiffs allege statements by so-called ―black separatist

                                  17   hate groups‖ supporting violence against police officers. Id. ¶¶ 113–18. Plaintiffs cite, for

                                  18   example, ―demonstrators apparently calling for the deaths of police officers‖ during December

                                  19   2014 protests in New York City—more specifically, a video on YouTube showing ―a few dozen

                                  20   protestors marching down Fifth Avenue . . . apparently yelling out in unison ‗What do we want?

                                  21   Dead cops. When do we want it? Now.‘‖ Id. ¶ 115. During another demonstration, Plaintiffs

                                  22   allege that ―Austin rotesters hant [sic4] ‗What‘s Better Than 12 Dead Cops? 13 Dead Cops.‘‖ Id.

                                  23   ¶ 116. During a 2016 Black Lives Matter protest, Plaintiffs allege that a speaker encouraged

                                  24   demonstrators to ―pull your pistol out and . . . bust that‖ if confronted by police officers. Id. ¶ 118.

                                  25   As noted above, Plaintiffs also allege that social media users shared the image of a police officer

                                  26   being beheaded (edited from an original image of an alleged Hamas beheading), among other

                                  27
                                       3
                                  28       This abbreviation is not defined in the complaint.
                                       4
                                           Presumably intended to be ―protesters chanted.‖
                                                                                           4
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                                   1   posts calling for violence towards police officers. Id. ¶ 117.

                                   2          Aside from the conclusory assertion that ―Johnson was radicalized, in part, by reviewing

                                   3   postings of HAMAS and other terrorist groups,‖ id. ¶ 129, the only specific allegations regarding

                                   4   Johnson‘s use of Defendants‘ products are that he ―‗liked‘ the Facebook pages of Black

                                   5   Nationalist organizations such as the New Black Panther Party (NBPP), Nation of Islam, and

                                   6   Black Riders Liberation Army, three groups which are listed by the SPLC as hate groups,‖ as well

                                   7   as ―the Facebook page of the African American Defense League, whose leader, Mauricelm-Lei

                                   8   Millere, called for the murders of police officers across the U.S. following the fatal 2014 shooting

                                   9   of Laquan McDonald.‖ Id. ¶¶ 130–31. The First Amended Complaint does not allege any

                                  10   connection between those specific groups and Hamas.

                                  11          Plaintiffs bring five claims for relief: (1) liability under 18 U.S.C. § 2333 for aiding and

                                  12   abetting an act of international terrorism, FAC ¶¶ 156–66; (2) liability for conspiring in
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                                  13   furtherance of such acts, id. ¶¶ 167–71; (3) providing material support to terrorists in violation of

                                  14   18 U.S.C. §§ 2333 and 2339A, FAC ¶¶ 172–77; (4) providing material support to a designated

                                  15   foreign terrorist organization in violation of 18 U.S.C. §§ 2333 and 2339B, FAC ¶¶ 178–83; and

                                  16   (5) negligent infliction of emotional distress, id. ¶¶ 184–87. The final claim, like the preceding

                                  17   four, is based entirely on Defendants‘ alleged provision of support to Hamas. Id. ¶¶ 185–86.

                                  18          B.    Similar Cases
                                  19                1. Fields v. Twitter
                                  20          Judge Orrick considered allegations similar to those presented here in Fields v. Twitter,

                                  21   case number 16-cv-00213-WHO (N.D. Cal.). The plaintiffs in that case were family members of

                                  22   United States government contractors killed in Jordan by a Jordanian police officer, Anwar Abu

                                  23   Zaid, in an attack for which the designated foreign terrorist organization ISIS5 later claimed credit.

                                  24   Fields v. Twitter (―Fields I‖), 200 F. Supp. 3d 964, 966 (N.D. Cal. 2016). Although the plaintiffs

                                  25   in that case did ―not allege that ISIS recruited or communicated with Abu Zaid over Twitter, that

                                  26
                                       5
                                  27    This order uses the term ―ISIS,‖ short for the ―Islamic State of Iraq and Syria,‖ for consistency
                                       with Judge Orrick‘s orders in Fields. The group has also been known as the ―Islamic State of Iraq
                                  28   and the Levant‖ (or ―ISIL‖), the ―Islamic State‖ (or ―IS‖), or in Arabic, ―ad-Dawlah al-Islamiyah‖
                                       or ―ad-Dawlah al-Islamiyah fi al-Iraq wa ash-Sham‖ (or ―Daesh‖).
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                                   1   ISIS or Abu Zaid used Twitter to plan, carry out, or raise funds for the attack, or that Abu Zaid

                                   2   ever viewed ISIS-related content on Twitter or even had a Twitter account,‖ they sought to hold

                                   3   Twitter liable for the attack under 18 U.S.C. § 2333(a) based on allegations that ISIS used Twitter

                                   4   to spread propaganda, raise funds, recruit members, and disseminate instructions for terrorist

                                   5   attacks, and that ISIS‘s use of Twitter—and Twitter‘s alleged allowance of such use—was a

                                   6   proximate cause of Abu Zaid‘s attack. Fields I, 200 F. Supp. 3d at 967.

                                   7          Twitter moved to dismiss based on the Communications Decency Act (the ―CDA‖), which

                                   8   provides in relevant part that ―[n]o provider or user of an interactive computer service shall be

                                   9   treated as the publisher or speaker of any information provided by another information content

                                  10   provider.‖ 47 U.S.C. § 230(c)(1). Judge Orrick held that § 230 applied to bar liability, rejecting

                                  11   two specific arguments from the plaintiffs to the contrary. First, the plaintiffs contended that

                                  12   § 230 did not apply to claims based on Twitter providing accounts to ISIS, rather than based on
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                                  13   particular content. See Fields I, 200 F. Supp. 3d at 970–75. Judge Orrick held that such a theory

                                  14   did not align with the plaintiffs‘ allegations, which in fact focused on the content of ISIS‘s Twitter

                                  15   usage, in particular ―‗spreading extremist propaganda, raising funds, and attracting new recruits.‘‖

                                  16   Id. at 971–72 (quoting the complaint). He also held that providing accounts for Twitter‘s service

                                  17   was sufficiently connected to Twitter‘s ―‗status or conduct as a publisher‘‖ to fall within § 230‘s

                                  18   grant of immunity, id. at 972 (quoting Barnes v. Yahoo!, Inc., 570 F.3d 1096, 1102 (9th Cir.

                                  19   2009)), and that the causal connection between Twitter‘s alleged conduct (or inaction) and Abu

                                  20   Zaid‘s attack, which was ―tenuous at best regardless of the particular theory of liability plaintiffs

                                  21   decide to assert,‖ was ―particularly weak under the provision of accounts theory because it [was]

                                  22   based on specific content disseminated through Twitter, not the mere provision of Twitter

                                  23   accounts,‖ id. at 974. As for the plaintiffs‘ contention that ISIS‘s alleged use of Twitter‘s ―Direct

                                  24   Messaging‖ feature fell outside the scope of § 230 immunity, Judge Orrick held that the private

                                  25   nature of such messages did not alter the analysis, examining the broad meaning of ―publication‖

                                  26   in the context of defamation law and citing several decisions that applied § 230 in cases involving

                                  27   nonpublic messages ―without questioning whether the [statute] applies in such circumstances.‖ Id.

                                  28   at 975–76. Judge Orrick therefore granted Twitter‘s motion and dismissed the complaint with
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                                   1   leave to amend. Id. at 976.

                                   2           The plaintiffs amended their complaint in an attempt to remedy the deficiencies identified

                                   3   in Fields I, but as in their initial complaint, the plaintiffs still did not allege that ISIS interacted

                                   4   with Abu Zaid using Twitter or that Abu Zaid had a Twitter account. Fields v. Twitter, Inc.

                                   5   (―Fields II‖), 217 F. Supp. 3d 1116, 1118 (N.D. Cal. 2016). In other words, ―[t]here [was] no

                                   6   connection between Abu Zaid and Twitter alleged.‖ Id. Although the plaintiffs again argued that

                                   7   their claim was based on providing accounts, rather than regulation of content, Judge Orrick held

                                   8   that any policy of denying accounts to members of ISIS would require regulation of content—i.e.,

                                   9   whatever content in a user name, profile picture, or tweets might identify a user as affiliated with

                                  10   ISIS—and thus fell within Twitter‘s role as a publisher and within the protection of § 230. Id. at

                                  11   1123–24. Judge Orrick also held that the focus of the allegations remained based on ISIS‘s

                                  12   objectionable use of Twitter rather than mere provision of accounts, and that the plaintiffs had ―not
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                                  13   alleged any facts linking Twitter‘s provision of accounts to ISIS to Abu Zaid‘s attack,‖ rejecting

                                  14   their contention that it was enough to ―alleg[e] that Twitter provided ISIS with material support in

                                  15   the form of a powerful communication tool and that ISIS has claimed responsibility for Abu

                                  16   Zaid‘s actions.‖ Id. at 1125–27. Judge Orrick once again rejected the plaintiffs‘ theory that use of

                                  17   direct messages fell outside the scope of § 230, and also rejected a new argument that policies

                                  18   underlying the CDA required an exception to § 230 for ―‗speech that aids designated terrorist

                                  19   organizations.‘‖ Id. at 1128–29 (quoting the plaintiffs‘ opposition brief). Judge Orrick

                                  20   determined that he was ―not at liberty to create‖ an exception that Congress failed to include in the

                                  21   statute, and that such an exception, despite targeting unquestionably objectionable content, could

                                  22   impose substantial burdens on service providers like Twitter and thus chill the free expression that

                                  23   such platforms otherwise promote. Id. at 1129. Judge Orrick dismissed the case with prejudice,

                                  24   id. at 1129–30, and an appeal is currently pending before the Ninth Circuit, see Fields v. Twitter,

                                  25   Inc., No. 16-17165 (9th Cir.).

                                  26           The similarities between Fields and the present case extend beyond merely raising similar

                                  27   issues. Although Fields was brought by different plaintiffs represented by different counsel, the

                                  28   complaint in this case borrows many of its allegations verbatim from the Fields plaintiffs‘
                                                                                            7
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                                   1   complaint—to the extent that certain paragraphs and headings here refer to ISIS where Plaintiffs

                                   2   presumably intended to reference Hamas. E.g., FAC ¶ 165 (―Defendants‘ provision of material

                                   3   support to ISIS was a proximate cause of the injury inflicted on Plaintiffs.‖); cf. 2d Am. Compl.

                                   4   ¶ 86, Fields v. Twitter, Inc., No. 16-cv-00213-WHO, ECF Doc. No. 48 (N.D. Cal. Aug. 30, 2016)

                                   5   (―Defendant‘s provision of material support to ISIS was a proximate cause of the injury inflicted

                                   6   on Plaintiffs.‖); see also, e.g., FAC ¶ 102 (―Thus, not only does each Defendant provide material

                                   7   support to HAMAS by allowing ISIS to make use of their social media sites, each Defendant

                                   8   derives revenue from ISIS postings irrespective of the content of HAMAS‘ postings.‖).6 Despite

                                   9   the substantial overlap between the allegations here and in Fields, and Defendants‘ substantial

                                  10   reliance on both Fields decisions in their present motion (see Mot. (dkt. 43) at 3–4, 5, 9, 10, 13–

                                  11   15, 16, 18 & nn.1, 3), Plaintiffs do not acknowledge either of those decisions in their opposition

                                  12   brief. See generally Opp‘n (dkt. 44).
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                                  13                2. Gonzalez v. Google
                                  14          The allegations in this case also overlap significantly with those of Gonzalez v. Google,

                                  15   Inc., No. 16-cv-3282-DMR (N.D. Cal.), another case filed after Fields and brought by plaintiffs

                                  16   represented by the same counsel as Plaintiffs here, in that case based on a 2015 shooting attack in

                                  17   Paris allegedly caused by Twitter, Google, and Facebook‘s support of ISIS. One paragraph of the

                                  18   present First Amended Complaint, for example, is copied from Gonzalez without alteration: ―The

                                  19   services and support that Defendants . . . provided to ISIS constitute material support to the

                                  20   preparation and carrying out of international terrorism, including the attack in which Nohemi

                                  21   Gonzalez was killed.‖ FAC ¶ 164.

                                  22          In a decision issued after the hearing in this case, Judge Ryu granted Google‘s motion to

                                  23   dismiss in Gonzalez, holding that the CDA barred all of the plaintiffs‘ claims. Gonzalez v.

                                  24   Google, Inc., __ F. Supp. 3d __, No. 16-cv-03282-DMR, 2017 WL 4773366 (N.D. Cal. Oct. 23,

                                  25

                                  26   6
                                         Although Plaintiffs have substituted ―Hamas‖ for ―ISIS‖ in other allegations, certain allegations
                                  27   still appear out of place, as where Plaintiffs allege that material support provided by Defendants—
                                       internet social media companies that only achieved ubiquitous global usage in roughly the last
                                  28   decade—―has been instrumental to the rise of HAMAS,‖ FAC ¶ 1, an organization active since the
                                       First Intifada in 1987, see id. ¶ 16.
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                                   1   2017). Judge Ryu rejected the plaintiffs‘ argument that the 2016 Justice Against Sponsors of

                                   2   Terrorism Act (―JASTA‖) repealed the CDA‘s immunity provision for claims related to terrorism,

                                   3   as well as an argument that applying the CDA to the plaintiffs‘ claims would be an improper

                                   4   extraterritorial application of United States law. Id. at *5–9. Like Judge Orrick‘s decision in

                                   5   Fields, Judge Ryu also rejected the plaintiffs‘ distinction between a claim based on published

                                   6   content and a claim based on providing ISIS with accounts, and thus ―access to powerful tools and

                                   7   equipment to publish their own content,‖ holding that the plaintiffs‘ claims were ―inextricably

                                   8   bound up with the content of ISIS‘s postings.‖ Id. at *10–11 (emphasis added). Judge Ryu

                                   9   further held that the plaintiffs could not establish liability based on Google‘s imperfect efforts to

                                  10   remove offensive content—specifically, the fact that accounts removed by Google allegedly were

                                  11   able to ―reconstitute‖ themselves easily by using similar names and ―bulk friend/follow

                                  12   requests‖—relying on the Ninth Circuit‘s decision in Fair Housing Council of San Fernando
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                                  13   Valley v. Roommates.com, LLC, 521 F.3d 1157 (9th Cir. 2008), which recognized that Congress

                                  14   enacted the CDA to allow interactive computer service providers to police user-generated content

                                  15   on their platforms without becoming liable for any such content that the provider failed to remove.

                                  16   Gonzalez, 2017 WL 4773366, at *11–12.

                                  17          Judge Ryu also addressed the plaintiffs‘ arguments that Google, rather than its users,

                                  18   should be treated as the creator of content related to ISIS. Id. at *12–15. With respect to targeted

                                  19   advertisements that Google allegedly paired with ISIS‘s YouTube videos, Judge Ryu noted that

                                  20   the plaintiffs did not allege that any of the advertisements themselves promoted terrorism or were

                                  21   otherwise objectionable, and held that Google did not become the creator of the videos merely by

                                  22   displaying advertisements alongside them, distinguishing a Northern District of Texas case where

                                  23   a service provider supplemented user-generated content with titles and headings that were

                                  24   themselves defamatory. Id. at *12–14 (distinguishing MCW, Inc. v. Badbusinessbureau.com,

                                  25   L.L.C., No. Civ.A.3:02-CV-2727-G, 2004 WL 833595 (N.D. Tex. Apr. 19, 2004)). To the

                                  26   contrary, the plaintiffs did not ―suggest that Google‘s targeted ad algorithm is anything but content

                                  27   neutral,‖ and the Ninth Circuit has ―held that held that a search engine‘s provision of ‗neutral tools

                                  28   to carry out what may be unlawful or illicit searches does not amount to [content] ―development‖
                                                                                          9
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                                   1   for purposes of the immunity exception.‘‖ Id. at *13 (quoting Roommates.com, 521 F.3d at 1169).

                                   2   Finally, Judge Ryu rejected an argument the plaintiffs raised at the hearing that Google‘s sharing

                                   3   of advertising revenue provides a basis for liability, holding that the complaint did not plead that

                                   4   theory, and that the plaintiffs failed to allege that Google actually shared revenue with ISIS or that

                                   5   any such revenue was connected to the terrorist attack at issue. Id. at *14.

                                   6          C.    Parties’ Arguments
                                   7                1. Defendants’ Motion
                                   8          Defendants move to dismiss on a number of grounds. First, they argue that, as in Fields,

                                   9   the CDA bars all of Plaintiffs‘ claims, because Defendants are providers of ―interactive computer

                                  10   services‖ and acted as publishers of third-party content with respect to all of Plaintiffs‘ allegations.

                                  11   Mot. at 8–15. According to Defendants, the allegations that they placed targeted advertisements

                                  12   alongside the content at issue and derived revenue from those advertisements do not change the
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                                  13   analysis, id. at 10–12, nor does Plaintiffs‘ characterization of the claim as based on providing

                                  14   accounts or ―infrastructure‖ rather than publishing content, id. at 13–15. Defendants also contend

                                  15   that the alleged causal chain between allowing Hamas and its members or supporters to post

                                  16   content and the Dallas shooting does not satisfy either a ―direct relation‖ or ―substantial factor‖

                                  17   test of proximate cause, id. at 15–19, that the Dallas shooting was not an ―act of international

                                  18   terrorism‖ within the meaning of 18 U.S.C. § 2333(d), see Mot. at 19–21, that Plaintiffs have not

                                  19   sufficiently alleged that Hamas ―committed, planned, or authorized‖ the shooting within the

                                  20   meaning of that statute, id. at 21–22, and that Plaintiffs have not alleged that Defendants conspired

                                  21   with or aided the shooter, Micah Johnson, in any way, id. at 22–24. With respect to Plaintiff

                                  22   Demetrick Pennie, Defendants argue that Pennie cannot establish cognizable emotional distress

                                  23   damages because he lacks a familial relationship with any victim and did not directly perceive the

                                  24   attack itself. Id. at 24–25. Defendants request that this action be dismissed with prejudice. Id. at

                                  25   25.

                                  26                2. Plaintiffs’ Opposition
                                  27          In their opposition brief, Plaintiffs contend that statements of purpose and intent in JASTA

                                  28   appearing as notes to § 2333, such as the purpose of ―‗provid[ing] civil litigants with the broadest
                                                                                         10
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                                   1   possible basis, consistent with the Constitution of the United States, to seek relief,‘‖ compel denial

                                   2   of Defendants‘ motion. Opp‘n at 3–4 (quoting Pub. L. No. 114-222, § 2(b), 130 Stat. 851, 852

                                   3   (2016)) (emphasis added by Plaintiffs). Plaintiffs argue that the Dallas shooting qualifies as

                                   4   international terrorism because ―HAMAS has been declared an international terrorist

                                   5   organization‖ and uses Defendants‘ platforms to radicalize individuals and provoke attacks across

                                   6   national boundaries, including the Dallas shooting. Id. at 5–6. Plaintiffs also argue that their

                                   7   allegations satisfy the tests for conspiracy and aiding and abetting as articulated by the D.C.

                                   8   Circuit in Halberstam v. Welch, 705 F.2d 472 (D.C. Cir. 1983). Opp‘n at 6–11. Addressing an

                                   9   argument not raised in Defendants‘ motion, Plaintiffs‘ contend that their complaint alleges

                                  10   sufficient mens rea because deliberate indifference is enough to state a civil claim under the

                                  11   statutes at issue. Id. at 11–14. They argue that ―but for‖ causation is not required for a claim

                                  12   under § 2333, particularly in light of the statements of purpose in JASTA, and that a plaintiff need
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                                  13   not show a direct causal link between a defendant‘s contribution of support to a terrorist

                                  14   organization and a particular attack carried out by that organization. Id. at 15–16 (citing, e.g.,

                                  15   Boim v. Holy Land Found. for Relief & Dev., 549 F.3d 685 (7th Cir. 2008) (en banc)). As for

                                  16   whether Hamas itself is sufficiently linked to the Dallas shooting, Plaintiffs present the following

                                  17   extended analogy:

                                  18                  Assume that ―Smith‖ gave a loaded gun to ―Jones‖. Smith has
                                                      knowledge that Jones is engaged in illegal, violent activity and
                                  19                  although he does not have knowledge of what Jones might do with
                                                      the gun, Smith is aware that Jones uses guns to commit violent,
                                  20                  illegal acts. Jones places the loaded gun in a schoolyard hoping that
                                                      a child will find the gun and shoot someone with the gun.
                                  21                  Subsequently, ―Tommy‖ finds the gun and shoots ―Billy‖.
                                  22                  First, even though Jones did not specifically know that Tommy
                                                      would find the gun and shoot Billy, Jones would have liability for
                                  23                  Billy‘s shooting. See Auto Club Prop.-Cas. Ins. Co. v. B.T., 596 F.
                                                      App‘x 409, 410 (6th Cir. 2015). ―Evidence that a defendant left a
                                  24                  loaded gun in a place which he knew or should have known to be
                                                      accessible to a child too immature or indiscreet to exercise the
                                  25                  required care in the control of such an instrument has frequently
                                                      been held to raise a jury question as to the defendant‘s responsibility
                                  26                  for injuries caused by a child with a gun so left.‖; See also United
                                                      States v. May, 430 F. App‘x 520, 526 (6th Cir. 2011).
                                  27
                                                      Unlike the two cases cited above, our hypothetical Jones intended
                                  28                  someone to find the gun. Auto Club and May found liability for
                                                                                         11
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                                                      mere negligence. Liability would thus certainly attach here because
                                   1                  Jones intended that someone would find the gun and engage in a
                                                      violent act even though Jones never knew of Tommy or Billy. So
                                   2                  too would liability for Smith.
                                   3                  The above example is what we have here. Each Defendant plays the
                                                      role of Smith. HAMAS is Jones. Micah Johnson is Billy. Each
                                   4                  victim is Tommy. Defendants allow HAMAS to conduct terrorist
                                                      operations using their tools. FAC ¶ 1. While Defendants do not
                                   5                  directly participate in any of HAMAS‘ activities, they are aware that
                                                      HAMAS is a terrorist organization and that HAMAS uses their tools
                                   6                  to conduct terrorist operations. FAC ¶¶ 1, 178-183. Defendants
                                                      provide content-neutral functionality within their platforms which
                                   7                  enables HAMAS to raise funds, recruit, and radicalize individuals
                                                      hoping those individuals will commit terrorist acts outside of
                                   8                  HAMAS‘ direct sphere of influence such as the United States. FAC
                                                      ¶¶ 1, 30-34, 123-138. Micah Johnson was radicalized by HAMAS‘
                                   9                  content, FAC ¶¶ 142-143, and conducted the attack on the Dallas
                                                      Police. Id.
                                  10
                                                      Specifically, in the context of material support to terrorism, there is
                                  11                  a strong precedent for holding Defendants liable for providing
                                                      material support to HAMAS even without a direct awareness of
                                  12                  Johnson and his terroristic plans. See Boim, 549 F.3d 685, 693.
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                                                      Since HAMAS ―placed the gun in the schoolyard‖ by radicalizing
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                                  13                  Johnson, HAMAS is in part responsible for the Dallas attack even if
                                                      HAMAS and Johnson had never been in contact or whether [sic]
                                  14                  HAMAS had direct knowledge about the Dallas attack.
                                  15   Id. at 16–18. According to Plaintiffs, ―there is a direct causal connection between Defendants‘

                                  16   actions and the Dallas attack.‖ Id. at 18.

                                  17          Turning to Defendants‘ argument that they are immune under the CDA, Plaintiffs contend

                                  18   that the broad statement of purpose in JASTA, recently enacted in 2016, trumps immunity under

                                  19   47 U.S.C. § 230 in the context of support-for-terrorism claims. Opp‘n at 18. Plaintiffs also argue

                                  20   that their claims are based on Defendants‘ provision of ―resources‖ to Hamas, and do not seek to

                                  21   hold Defendants liable as speakers or publishers. Id. at 19–20. They argue that by voluntarily

                                  22   deleting certain Hamas-related accounts, ―Defendants have scienter of the violative nature of the

                                  23   account and has [sic] assumed responsibility not to allow that account to reconstitute,‖ and thus

                                  24   can be held liable for not taking steps to prevent blocked users from returning to Defendants‘

                                  25   platforms under new account names. Id. at 20–21. Plaintiffs also contend that in pairing Hamas-

                                  26   related content with advertisements targeting particular users, Defendants act as ―information

                                  27   content providers‖ rather than traditional publishers, and thus fall outside the scope of § 230

                                  28   immunity, and that Google also provides support to Hamas outside of its role as a publisher by
                                                                                        12
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                                   1   sharing advertising revenue with Hamas. Id. at 21–24.

                                   2          Finally, Plaintiffs argue that Pennie can establish a cognizable injury due to his close

                                   3   relationship with fellow officers in the Dallas Police Department and his emotional distress while

                                   4   acting as a first responder. Id. at 24–25.

                                   5                3. Defendants’ Reply
                                   6          In their reply, Defendants continue to argue that they are immune under § 230. Reply (dkt.

                                   7   45) at 1–6. They contend that JASTA had no effect on § 230 immunity because repeal by

                                   8   implication is disfavored and because Plaintiffs improperly rely on that law‘s ―uncodified findings

                                   9   and statement of purpose‖ rather than operative statutory language. Id. at 1–4. Defendants also

                                  10   argue that a number of courts, including in Fields, have rejected Plaintiffs‘ theory that providing

                                  11   accounts (or here, allowing deleted accounts to ―reconstitute‖) falls outside the scope of § 230, and

                                  12   Defendants dispute Plaintiffs‘ position that adding targeted advertisements to alleged Hamas
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                                  13   content alters the analysis. Id. at 4–6.

                                  14          Defendants reiterate their position that Plaintiffs have not alleged a sufficient causal

                                  15   connection between Hamas‘s use of Defendants‘ services and the Dallas attack, id. at 7–8, and that

                                  16   Plaintiffs have not established: (1) that the Dallas shooting was an act of ―international terrorism‖

                                  17   within the meanings of 18 U.S.C. §§ 2331 and 2333; (2) that a foreign terrorist organization

                                  18   ―committed, planned, or authorized‖ the attack within the meaning of § 2333(d); (3) that

                                  19   Defendants provided assistance to the person who ―committed‖ the attack within the meaning of

                                  20   that statute; (4) that Defendants knew of a particular illegal scheme and provided ―substantial‖

                                  21   assistance to the ―principal violation‖; or (5) that Defendants entered any ―agreement with

                                  22   Johnson (or anyone else) ‗to participate in an unlawful act.‘‖ Reply at 8–11 (citation omitted).

                                  23   Defendants also respond to arguments in the opposition brief that they contend do not correspond

                                  24   to anything in their motion,7 arguing that Plaintiffs‘ allegations neither establish sufficient mens

                                  25   rea nor meet the other elements of ―international terrorism,‖ the latter because ―an alleged material

                                  26
                                  27   7
                                         According to Defendants, the mismatch ―seems to stem from Plaintiffs‘ having copied much of
                                  28   their opposition from another brief their counsel recently filed in another case,‖ i.e., Gonzalez, No.
                                       16-cv-03282-DMR. Reply at 12–13.
                                                                                        13
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                                   1   support violation does not, by itself, satisfy‖ those elements. Id. at 13–15. Defendants again

                                   2   argue that Pennie lacks both a sufficient familial connection to a victim and sufficient firsthand

                                   3   perception of the attack to state a claim for emotional distress damages. Id. at 11–12.

                                   4   III.    ANALYSIS
                                   5          A.     Legal Standard
                                   6           A complaint may be dismissed for failure to state a claim on which relief can be granted

                                   7   under Rule 12(b)(6) of the Federal Rules of Civil Procedure. ―The purpose of a motion to dismiss

                                   8   under Rule 12(b)(6) is to test the legal sufficiency of the complaint.‖ N. Star Int’l v. Ariz. Corp.

                                   9   Comm’n, 720 F.2d 578, 581 (9th Cir. 1983). Generally, a plaintiff‘s burden at the pleading stage

                                  10   is relatively light. Rule 8(a) of the Federal Rules of Civil Procedure states that a ―pleading which

                                  11   sets forth a claim for relief . . . shall contain . . . a short and plain statement of the claim showing

                                  12   that the pleader is entitled to relief.‖ Fed. R. Civ. P. 8(a).
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                                  13           In ruling on a motion to dismiss under Rule 12(b)(6), the court analyzes the complaint and

                                  14   takes ―all allegations of material fact as true and construe[s] them in the light most favorable to the

                                  15   non-moving party.‖ Parks Sch. of Bus. v. Symington, 51 F.3d 1480, 1484 (9th Cir. 1995).

                                  16   Dismissal may be based on a lack of a cognizable legal theory or on the absence of facts that

                                  17   would support a valid theory. Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699 (9th Cir.

                                  18   1990). A complaint must ―contain either direct or inferential allegations respecting all the material

                                  19   elements necessary to sustain recovery under some viable legal theory.‖ Bell Atl. Corp. v.

                                  20   Twombly, 550 U.S. 544, 562 (2007) (citing Car Carriers, Inc. v. Ford Motor Co., 745 F.2d 1101,

                                  21   1106 (7th Cir. 1984)). ―A pleading that offers ‗labels and conclusions‘ or ‗a formulaic recitation

                                  22   of the elements of a cause of action will not do.‘‖ Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

                                  23   (quoting Twombly, 550 U.S. at 555). ―[C]ourts ‗are not bound to accept as true a legal conclusion

                                  24   couched as a factual allegation.‘‖ Twombly, 550 U.S. at 555 (quoting Papasan v. Allain, 478 U.S.

                                  25   265, 286 (1986)). ―Nor does a complaint suffice if it tenders ‗naked assertion[s]‘ devoid of

                                  26   ‗further factual enhancement.‘‖ Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 557)

                                  27   (alteration in original). Rather, the claim must be ―‗plausible on its face,‘‖ meaning that the

                                  28   plaintiff must plead sufficient factual allegations to ―allow[] the court to draw the reasonable
                                                                                           14
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                                   1   inference that the defendant is liable for the misconduct alleged.‖ Id. (quoting Twombly, 550 U.S.

                                   2   at 570).

                                   3          B.    The First Amended Complaint Does Not Establish Proximate Cause
                                   4          The parties dispute the appropriate test of proximate cause for Plaintiffs‘ claims.

                                   5   Defendants argue that in light of § 2333‘s language creating a cause of action for persons injured

                                   6   ―‗by reason of‘‖ international terrorism, a plaintiff must show ―‗some direct relation between the

                                   7   injury asserted and the injurious conduct alleged.‘‖ Mot. at 16 (quoting 18 U.S.C. § 2333(a);

                                   8   Holmes v. Sec. Inv’r Prot. Corp., 503 U.S. 258, 268 (1992) (interpreting similar language in the

                                   9   Racketeer Influenced and Corrupt Organizations Act)). Plaintiffs argue that the conduct at issue

                                  10   need not be a but-for cause of the attack, and that it is enough to establish that access to

                                  11   Defendants‘ services ―‗was a substantial reason that Hamas was able to perpetrate the terrorist

                                  12   attacks at issue, and that Hamas‘ increased ability to carry out deadly attacks was a foreseeable
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                                  13   consequence‘ of providing such material support.‖ Opp‘n at 16 (quoting Linde v. Arab Bank,

                                  14   PLC, 97 F. Supp. 3d 287, 328 (E.D.N.Y. 2015)). Assuming for the sake of argument that

                                  15   Plaintiffs are correct as to the standard, the Court agrees with Defendants that the complaint must

                                  16   be dismissed for failure to establish that any purported ―support‖ provided to Hamas was a

                                  17   substantial factor leading to the Dallas shooting.

                                  18          Among the more permissive decisions on this issue is Boim, in which the Seventh Circuit

                                  19   held that although § 2333 did not at the time create secondary liability for aiding and abetting—

                                  20   subsection (d), which now explicitly authorizes such liability, had not yet been enacted—its

                                  21   incorporation of § 2339A, which criminalizes providing material support to terrorism, implicates

                                  22   principles similar to aiding and abetting, and based on doctrines developed to deal with concurrent

                                  23   causes like multiple negligently-set fires converging on a plaintiff‘s house, a person who gives

                                  24   money to even the charitable arm of a known terrorist organization like Hamas can be held liable

                                  25   for acts of terrorism by such a group without need to trace the funds provided by the defendant to

                                  26   the particular attack that injured the plaintiff. See Boim, 549 F.3d at 689–99; see also, e.g.,

                                  27   Strauss v. Credit Lyonnais, S.A., 925 F. Supp. 2d 414, 433 (E.D.N.Y. 2013) (―[P]laintiffs who

                                  28   bring [a § 2333] action are not required to trace specific dollars to specific attacks to satisfy the
                                                                                            15
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                                   1   proximate cause standard.‖). In that case, however, while the connection between the particular

                                   2   support provided and the attack was arguably tenuous, the connection between the terrorist

                                   3   organization and the attack was not. See Boim, at 687 (stating that the plaintiffs alleged ―[their

                                   4   son‘s] killers had been Hamas gunmen‖); see also Strauss, 925 F. Supp. 2d at 433 (―Here, Hamas

                                   5   carried out the attacks . . . .‖).

                                   6           Whatever relationship Defendants‘ alleged provision of social media services to Hamas

                                   7   might have to Hamas‘s own operations, the clearest break in the causal chain here lies between

                                   8   Hamas and the Dallas attack. Aside from conclusory assertions that do not meet the Iqbal and

                                   9   Twombly standard for factual allegations, e.g., FAC ¶¶ 129, 132–34,8 Plaintiffs do not

                                  10   meaningfully allege that Hamas itself carried out the attack, or even that it intended for such an

                                  11   attack to occur. Instead, they allege that other Palestinians and Palestinian organizations (whom

                                  12   Plaintiffs vaguely characterize as ―HAMAS sympathizers and members‖) expressed general
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                                  13   support for groups protesting police violence against African Americans, FAC ¶¶ 105, 109, 113,

                                  14   119–20, including some such groups that have staged protests or rallies where speakers or

                                  15   demonstrators called for killing police officers, id. ¶¶ 115–18, and that ―Micah Johnson was

                                  16   radicalized, in part, by these organizations calling for the murders of police officers,‖ id. ¶ 122.

                                  17   The only specific organizations that Plaintiffs allege Johnson interacted with using Defendants‘

                                  18   services are yet other groups whose Facebook pages he ―liked‖—the New Black Panther Party,

                                  19   the Nation of Islam, the Black Riders Liberation Army, and the African American Defense

                                  20   League—but Plaintiffs do not allege any connection between Hamas and any of those groups. See

                                  21   id. ¶¶ 130–31. Instead, the present complaint, as amended after Defendants‘ first motion to

                                  22

                                  23   8
                                         Plaintiffs assert, for example, that ―[o]n information and belief, Micah Johnson was radicalized,
                                  24   in part, by reviewing postings of HAMAS and other terrorist groups on the internet and
                                       Defendants‘ social media sites.‖ FAC ¶ 129. That assertion is comparable to allegations at issue
                                  25   in Iqbal, where the Supreme Court held too conclusory to be cognizable allegations that
                                       governmental defendants subjected the plaintiff to harsh confinement on account of his religion,
                                  26   race, or national origin, ―that [then–Attorney General] Ashcroft was the ‗principal architect‘ of
                                       this invidious policy, and that [then–FBI Director] Mueller was ‗instrumental‘ in adopting and
                                  27   executing it.‖ Ashcroft v. Iqbal, 556 U.S. at 680–81 (citations omitted). Absent any factual
                                       allegations regarding the Hamas postings that Johnsons allegedly viewed and their relationship to
                                  28   the shooting, the assertions here that Hamas radicalized Johnson are both too conclusory to be
                                       taken as true and too vague to establish proximate cause.
                                                                                          16
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                                   1   dismiss, details contacts between African American and Palestinian organizations with no

                                   2   apparent relevance to this case, like the ―10-day trip to the occupied Palestinian Territories and

                                   3   Israel‖ in 2015 by ―Black journalists, artists and organizers,‖ with no allegation that Hamas or the

                                   4   groups that Johnson ―liked‖ on Facebook participated in that trip. See id. ¶ 110.

                                   5          Boim and similar decisions stand for a rule that a defendant who has provided funds to a

                                   6   terrorist organization can be held liable for any subsequent attack by that organization, without

                                   7   need to trace the defendant‘s funds to the particular attack. Here, Plaintiffs seek to extend that rule

                                   8   to encompass liability for an attack by a person who had engaged on social media with groups that

                                   9   arguably shared an ideological affiliation with groups that received expressions of solidarity from

                                  10   groups that shared an ideological affiliation with a designated foreign terrorist organization to

                                  11   which Defendants provided support. Plaintiffs‘ gun-in-a-schoolyard analogy notwithstanding, see

                                  12   Opp‘n at 16–18, Plaintiffs cite no case where liability has been based on such a tenuous
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                                  13   connection between an attack and the foreign terrorist group that a defendant allegedly supported.

                                  14          Plaintiffs also allege that an unspecified ―black separatist hate group‖ edited a photograph

                                  15   purportedly depicting a member of Hamas beheading a prisoner to instead show a masked person

                                  16   beheading a police officer and subsequently circulated that image through Defendants‘ services,

                                  17   but do not allege that Hamas played any role in repurposing that image to express anti-police

                                  18   sentiment, or that Johnson ever saw the image in question. See FAC ¶¶ 106–07.

                                  19          The complaint here does not plausibly allege that Hamas ―committed, planned, or

                                  20   authorized‖ the Dallas attack, or that it was ―the person who committed‖ the attack, within any

                                  21   reasonable interpretation of those terms in 18 U.S.C. § 2333(d). Although asserting in general

                                  22   terms that Hamas seeks to ―incite others outside . . . of [its] sphere of influence,‖ see Tr. at 6:10–

                                  23   13, Plaintiffs do not allege that Hamas had or expressed any intent to facilitate attacks on police

                                  24   officers in the United States. See Boim, 549 F.3d at 694 (noting that ―unlike some other terrorist

                                  25   groups, Hamas‘s terrorism is limited to the territory of Palestine, including Israel‖).

                                  26          Without some meaningful connection between Hamas and the attack, Defendants‘ alleged

                                  27   provision of support to Hamas does not meet even Plaintiffs‘ test of proximate cause: absent

                                  28   plausible allegations that Hamas itself was in some way a ―substantial factor‖ in the attack, there is
                                                                                         17
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                                   1   no basis to conclude that any support provided by Defendants to Hamas was a substantial factor.

                                   2   Cf. Strauss, 925 F. Supp. 2d at 432. Because all of Plaintiffs‘ claims are based on Defendants‘

                                   3   alleged support of Hamas, the failure to allege a plausible causal connection between Hamas and

                                   4   the Dallas attack warrants dismissal of all claims.

                                   5           Plaintiffs have not identified any allegations that they could add to their complaint to cure

                                   6   the failure to establish a meaningful connection between Hamas and the Dallas attack. In response

                                   7   to the Court‘s concerns about the lack of such a connection, Plaintiffs‘ counsel suggested at the

                                   8   hearing that Plaintiffs could amend their complaint to allege that groups Johnson ―liked‖ on

                                   9   Facebook had contact with Hamas. See Tr. (dkt. 54) at 15:3–16:23. But Plaintiffs concede that

                                  10   Hamas never directly communicated with Johnson, and that they do not know whether Johnson

                                  11   ever viewed Hamas social media content. Id. at 4:22–25, 14:8–9. Plaintiffs have not suggested

                                  12   that they could allege that Hamas instructed or encouraged groups like the New Black Panther
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                                  13   Party to foment the sort of attack that Johnson committed, nor that Johnson viewed material from

                                  14   those groups calling for such an attack. An amended allegation that Hamas at some point

                                  15   communicated with radical groups that Johnson ―liked‖ on Facebook would not establish that

                                  16   Hamas was responsible for Johnson‘s attack on police officers in Dallas. The Court concludes

                                  17   that amendment would be futile.

                                  18          C.     The CDA Bars Most if Not All of Plaintiffs’ Claims
                                  19           In addition to the defect of causation discussed above, the CDA immunizes Defendants

                                  20   from most if not all of Plaintiffs‘ claims, because Plaintiffs‘ theory of liability rests largely on the

                                  21   premise that Defendants should be held responsible for content created and posted by users (here,

                                  22   Hamas and its affiliates) of Defendants‘ interactive computer services. The CDA states in relevant

                                  23   part that ―[n]o provider or user of an interactive computer service shall be treated as the publisher

                                  24   or speaker of any information provided by another information content provider.‖ 47 U.S.C.

                                  25   § 230(c)(1). This section ―immunizes providers of interactive computer services against liability

                                  26   arising from content created by third parties,‖ so long as ―the interactive computer service

                                  27   provider is not also an ‗information content provider,‘ which is defined as someone who is

                                  28   ‗responsible, in whole or in part, for the creation or development of‘ the offending content.‖
                                                                                          18
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                                   1   Roommates.com, 521 F.3d at 1162 (quoting 47 U.S.C. § 230(f)). ―[S]eparated into its elements,

                                   2   section 230(c)(1) protects from liability only (a) a provider or user of an interactive computer

                                   3   service (b) that the plaintiff seeks to treat as a publisher or speaker (c) of information provided by

                                   4   another information content provider.‖ Fields I, 200 F. Supp. 3d at 969 (citing Barnes v. Yahoo!,

                                   5   Inc., 570 F.3d 1096, 1100–01 (9th Cir. 2009)). As far as this Court is aware, every court that has

                                   6   considered the issue has held that the CDA bars claims similar to those presented here, even where

                                   7   the user posting objectionable content to an interactive service is, or is affiliated with, a foreign

                                   8   terrorist organization. See id.; Gonzalez, __ F. Supp. 3d __, 2017 WL 4773366; Cohen v.

                                   9   Facebook, Inc., 252 F. Supp. 3d 140, 157–61 (E.D.N.Y. 2017); Fields II, 217 F. Supp. 3d 1116.

                                  10          As a starting point, JASTA does not implicitly repeal the CDA with respect to foreign

                                  11   terrorist organizations‘ use of interactive computer services. ―‗[R]epeals by implication are not

                                  12   favored‘ and will not be presumed unless the ‗intention of the legislature to repeal [is] clear and
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                                  13   manifest.‘‖ Nat’l Ass’n of Home Builders v. Defs. of Wildlife, 551 U.S. 644, 662 (2007) (quoting

                                  14   Watt v. Alaska, 451 U.S. 259, 267 (1981)) (second alteration in original). For a later-enacted

                                  15   statute to amend or repeal an earlier statute not explicitly referenced therein, it must ―‗expressly

                                  16   contradict‘‖ the earlier statute or be so incompatible that inferring amendment or repeal is ―‗is

                                  17   absolutely necessary . . . in order that [the] words [of the later statute] shall have any meaning at

                                  18   all.‘‖ Id. (quoting Traynor v. Turnage, 485 U.S. 535, 548 (1988)) (alterations in original). No

                                  19   clear legislative intent to repeal or amend the CDA is apparent in JASTA, which explicitly

                                  20   modifies a separate immunity not at issue here—the Foreign Sovereign Immunities Act—but does

                                  21   not discuss the CDA or its subject matter. See JASTA § 3(a), Pub. L. No. 114-222, 130 Stat. 852,

                                  22   853 (2016) (codifying 28 U.S.C. § 1605B to limit foreign sovereign immunity). As Judge Ryu

                                  23   concluded in Gonzalez, ―[t]his demonstrates that where Congress intended JASTA to repeal

                                  24   existing statutory immunities, it made that clear.‖ Gonzalez, 2017 WL 4773366, at *6. Plaintiffs

                                  25   rely on the statute‘s broad and uncodified statement of purpose ―to provide civil liability with the

                                  26   broadest possible basis‖ against entities providing material support to foreign terrorist groups.

                                  27   JASTA § 2(b); Opp‘n at 3–4. But it ―is well settled that prefatory clauses or statements of purpose

                                  28   do not change the plain meaning of an operative clause,‖ and ―JASTA‘s statement of purpose
                                                                                          19
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                                   1   ‗cannot bear the weight‘ that Plaintiffs place on it.‖ Gonzalez, 2017 WL 4773366, at *7 (quoting

                                   2   Hawaii v. Office of Hawaiian Affairs, 556 U.S. 163, 175 (2009)). With no operative, codified

                                   3   provisions that conflict with the CDA, it is not ―absolutely necessary‖ to construe JASTA as

                                   4   amending the CDA for JASTA to have meaning. See Defs. of Wildlife, 551 U.S. at 662. The

                                   5   Court holds that JASTA has no effect on the scope of Defendants‘ immunity under the CDA in

                                   6   this case.

                                   7           Aside from their argument based on JASTA, Plaintiffs argue that the CDA does not apply

                                   8   here because they do not seek to hold Defendants liable as publishers or speakers of other people‘s

                                   9   content. Opp‘n at 19–23. Plaintiffs contend that their claims ―do not depend upon the content that

                                  10   HAMAS or its operatives post,‖ but instead on Defendants allowing Hamas to use their services at

                                  11   all, arguing that ―[s]ince Defendants are prohibited by federal criminal law from providing support

                                  12   to HAMAS, they have no discretion to permit the use of their resources by HAMAS,‖ and need
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                                  13   not exercise any editorial discretion to comply with the laws barring material support to terrorist

                                  14   organizations. Id. at 19–20. First, this characterization of Plaintiffs‘ claims is false: Plaintiffs

                                  15   explicitly base their claims on the content that Hamas allegedly posts, because absent offending

                                  16   content, there would be no basis for even the frivolous causal connection that Plaintiffs have

                                  17   alleged between Defendants‘ services and the Dallas attack. See Gonzalez, 2017 WL 4773366, at

                                  18   *11; Cohen, 252 F. Supp. 3d at 157–58. Second, as two other judges of this Court have noted,

                                  19   Defendants could only determine which accounts are affiliated with Hamas by reviewing the

                                  20   content published by those accounts—the substantive posts and media that users share, as well as

                                  21   the names and profile pictures that users choose to identify their accounts. Fields II, 217 F. Supp.

                                  22   3d at 1123 (―A policy that selectively prohibits ISIS members from opening accounts would

                                  23   necessarily be content based as Twitter could not possibly identify ISIS members without

                                  24   analyzing some speech, idea or content expressed by the would-be account holder . . . .‖);

                                  25   Gonzalez, 2017 WL 4773366, at *11 (quoting Fields II with approval).

                                  26           Plaintiffs also argue that Defendants can be held liable for ―allowing an account that has

                                  27   been taken down to reconstitute,‖ on the basis that by voluntarily removing an account from their

                                  28   services, ―Defendants have scienter of the violative nature of the account and has [sic] assumed
                                                                                          20
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                                   1   responsibility not to allow that account to reconstitute.‖ Opp‘n at 20–21. This argument is

                                   2   foreclosed by the Ninth Circuit‘s recognition that, under the CDA, good faith efforts to remove

                                   3   objectionable content cannot create liability for service providers‘ failure to remove all such

                                   4   content, and that the statute instead ―allow[s] them to perform some editing on user-generated

                                   5   content without thereby becoming liable for all defamatory or otherwise unlawful messages that

                                   6   they didn‘t edit or delete.‖ Roommates.com, 521 F.3d at 1174; see also 47 U.S.C. § 230(c)(2)

                                   7   (barring liability for ―any action voluntarily taken in good faith to restrict access to or availability

                                   8   of material that the provider or user considers to be . . . objectionable‖); Gonzalez, 2017 WL

                                   9   4773366, at *12.

                                  10           Next, Plaintiffs contend that Defendants can be held liable as creators of content, rather

                                  11   than merely interactive service providers, because Defendants select advertisements to pair with

                                  12   content on their services—allegedly including content posted by Hamas—―based on what is
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                                  13   known about the viewer and what the viewer is looking at.‖ Opp‘n at 21–23 (citing, e.g.,

                                  14   Roommates.com, 521 F.3d at 1163, 1166–67, 1171). An ―entity that is responsible, in whole or in

                                  15   part, for the creation or development of information‖ is not immune under the CDA for liability

                                  16   related to the publication of that information. See 47 U.S.C. § 230(f)(3); Roommates.com, 521

                                  17   F.3d at 1166. The Ninth Circuit has ―interpret[ed] the term ‗development,‘‖ however ―as referring

                                  18   not merely to augmenting the content generally, but to materially contributing to its alleged

                                  19   unlawfulness. In other words, a website helps to develop unlawful content, and thus falls within

                                  20   the exception to section 230, if it contributes materially to the alleged illegality of the conduct.‖

                                  21   Roommates.com, 51 F.3d at 1167–68. Here, as in Gonzalez:

                                  22                   Plaintiffs do not allege that [Defendants] ―materially contribut[ed]‖
                                                       in any way to the actual content of [Hamas social media posts].
                                  23                   They do not claim that [Defendants‘] ads (which are themselves
                                                       third-party content) are objectionable, or that the ads played any role
                                  24                   in making [Hamas‘s content] unlawful. For example, Plaintiffs do
                                                       not allege that any ads paired with [Hamas]-related content offered
                                  25                   tools or instructions on how to carry out [Hamas‘s] threats, or
                                                       otherwise encouraged individuals to commit acts of terrorism. The
                                  26                   [First Amended Complaint] contains [four] screenshot example[s] of
                                                       an alleged targeted ad next to [a Hamas] video on YouTube . . . .
                                  27                   [FAC ¶¶ 42, 96.] Plaintiffs do not make any allegations about the
                                  28
                                                                                          21
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                                                      relationship between [the products advertised9] and terrorism. See,
                                   1                  e.g., Jones [v. Dirty World Entm’t Recordings LLC, 755 F.3d 398,
                                                      416–17 (6th Cir. 2014)] (holding interactive service provider was
                                   2                  not information content provider as to allegedly defamatory third
                                                      party posts; even though provider appended his own comments to
                                   3                  the posts, the plaintiff did not allege that the provider‘s comments
                                                      were themselves defamatory).
                                   4

                                   5   See Gonzalez, 2017 WL 4773366, at *13 (second alteration in original). Like in Gonzalez,

                                   6   Defendants‘ ―provision of neutral tools, including targeted advertising, does not equate to content

                                   7   development under section 230, because . . . the tools do not encourage the posting of unlawful or

                                   8   objectionable material.‖ Id.; cf. Roommates.com, 521 F.3d at 1165–67 (holding that the defendant

                                   9   engaged in content development outside the scope of the CDA‘s immunity provision by creating a

                                  10   system that required users to disclose whether they were members of certain protected classes and

                                  11   allowed other users to screen housing applicants based on that information).

                                  12          Finally, Plaintiffs argue that Google‘s alleged sharing of advertising revenue with Hamas
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                                  13   is not protected by the CDA. Opp‘n at 23–24. The question of whether, or under what

                                  14   circumstances, the CDA immunizes payments made by interactive service providers to content

                                  15   developers appears to be a novel issue.10 Google relies on the District Court for the District of

                                  16   Columbia‘s decision in Blumenthal v. Drudge, which held that an internet provider‘s contract for

                                  17   payment to ―gossip and rumor‖ writer Matt Drudge did not affect the scope of the provider‘s

                                  18   immunity under the CDA for content written by Drudge. Blumenthal, 992 F. Supp. 44, 50–53

                                  19   (D.D.C. 1998); Reply at 6 & n.5. Assuming for the sake of argument that this Court would follow

                                  20   Blumenthal‘s holding that CDA immunity applied to user-generated content even where a service

                                  21   provider paid for that content, Blumenthal does not address the question of whether the CDA

                                  22   immunizes payments that otherwise could themselves give rise to liability. Providing money to

                                  23
                                       9
                                  24     In this case, the advertisements are for car insurance, FAC ¶ 42, a product offering ―the tools and
                                       the team to grow your small business,‖ id. ¶ 96, Velveeta ―Famous Queso! Mix,‖ id. ¶ 99, and a
                                  25   home heating and cooling system, id. ¶ 100. In Gonzalez, the only advertisement documented in
                                       the plaintiffs‘ complaint was for ―a product called ‗ThreatMetrix Cybercrime Report: Q4 2015.‘‖
                                  26   Gonzalez, 2017 WL 4773366, at *13.
                                       10
                                          The plaintiffs in Gonzalez raised this theory for the first time at the hearing on Google‘s motion
                                  27   to dismiss. Gonzalez, 2017 WL 4773366, at *14. Without reaching the question of whether the
                                       CDA immunizes payments, Judge Ryu held that the plaintiffs‘ complaint did not plead that theory
                                  28   of liability and failed to allege that Google actually shared advertising revenue with ISIS or that
                                       any such revenue was connected to the attack at issue. Id.
                                                                                          22
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                                   1   Matt Drudge generally is legal; providing money to Hamas generally is not. See Boim, 549 F.3d

                                   2   at 693–94. Because Plaintiffs‘ failure to allege a causal connection between Hamas and the Dallas

                                   3   shooting is reason enough to dismiss all claims, the Court declines to resolve the question of if or

                                   4   how the CDA applies where an interactive service provider shares advertising revenue with a

                                   5   content developer that has been designated as a foreign terrorist organization. With respect to all

                                   6   other theories of liability against Google, however, as well as all claims against Defendants

                                   7   Twitter and Facebook, section 230 of the CDA is a separate and sufficient basis for dismissal.

                                   8   IV.    CONCLUSION
                                   9          As discussed above, Plaintiffs do not plausibly allege a connection between Hamas and the

                                  10   Dallas shooting, and thus fail to establish that Defendants‘ alleged support of Hamas was a

                                  11   proximate cause of Plaintiffs‘ injuries. At the hearing, Plaintiffs were not able to identify

                                  12   additional factual allegations they could make to resolve this deficiency if given leave to amend.
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                                  13   Most if not all of Plaintiffs‘ claims are also barred by the CDA. Defendants‘ motion is therefore

                                  14   GRANTED, and the action is DISMISSED WITH PREJUDICE.

                                  15          IT IS SO ORDERED.

                                  16   Dated: December 4, 2017

                                  17                                                    ______________________________________
                                                                                        JOSEPH C. SPERO
                                  18                                                    Chief Magistrate Judge
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